Case 4:20-cv-00957-SDJ   Document 700-14 Filed 12/09/24   Page 1 of 4 PageID #:
                                    38944




                   EXHIBIT 114
                         REDACTED
            Case 4:20-cv-00957-SDJ   Document 700-14 Filed 12/09/24                  Page 2 of 4 PageID #:
                                                38945




    2008 Strategic Planning

    DoubleClick Advertising Exchange

    July 26th, 2008



                                                                                             double
                                                                                             click
                                      © 2007 DoubleClick Inc. All Rights Reserved.




HIGHLY CONFIDENTIAL                                                                                  GOOG-TEX-00458239
Case 4:20-cv-00957-SDJ   Document 700-14 Filed 12/09/24   Page 3 of 4 PageID #:
                                    38946
                   Case 4:20-cv-00957-SDJ                           Document 700-14 Filed 12/09/24                  Page 4 of 4 PageID #:
                                                                               38947




    AdX Volume for July 2007




                                                i   4   5   8   7   8   9    fC ft f2 13 f4 15 10 f7   fa rg 22 0    22 2, 24 25
                                                                            Day of the Month in July
                                                                                                                                      double
 © 2007 DoubleClick Inc. All Rights Reserved.
                                                                                                                                      click




HIGHLY CONFIDENTIAL                                                                                                                 GOOG-TEX-00458248
